            Case 2:24-cr-00461-FMO            Document 45-1 Filed 08/28/24               Page 1 of 1 Page ID
Name & Address:                                        #:128
NAME, ADDRESS AND TELEPHONE NUMBER OF ATTORNEY(S)                                                        CLEAR FORM


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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                       CASE NUMBER


                                                                                    24-CR-00461-FMO
                                                    PLAINTIFF
                                   v.
JOSE JAIME GARCIA                                                  NOTIFICATION RE: APPLICATION FOR BAIL
                                                                   REVIEW OR RECONSIDERATION OF ORDER
                                                                           SETTING CONDITIONS OF
                                                                          RELEASE OR DETENTION,
                                                 DEFENDANT.                    (18 U.S.C. §3142)

PLEASE TAKE NOTICE that the Request for Hearing on the Application for Review/Reconsideration of Order Setting
Conditions of Release/Detention:

G is approved. The matter is set on calendar for hearing before:

G District Judge

✔ Magistrate Judge Hon. Jacqueline Chooljian
G

on                                                        at                       G a.m. G p.m.

in courtroom                                                                                      .

G is not approved.

G Other:

                                  ✔ is not required. Language
     An interpreter is G required G
     Defendant is G ✔in custody G not in custody.

                                                 Clerk, U. S. District Court




Date                                     Deputy Clerk                                     Contact Phone Number

Notice is electronically made upon transmission of the Notice of Electronic Filing to the following agencies:
cc: G Probation G Interpreter’s Office G ✔ PSA.




             NOTIFICATION RE: APPLICATION FOR BAIL REVIEW OR RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                           RELEASE OR DETENTION, (18 U.S.C. §3142)
CR-88A (10/09)
